
99 N.Y.2d 572 (2003)
In the Matter of THOMAS GILLEN, Appellant,
v.
JOHN GIORDANO et al., Respondents. (Matter No. 1.)
THOMAS GILLEN, Appellant,
v.
PATRICK S. MIELO, Respondent. (Matter No. 2.)
Court of Appeals of the State of New York.
Submitted November 12, 2002.
Decided January 16, 2003.
*573 Motion, insofar as it seeks leave to appeal with respect to Pabco Realty Corp., denied; motion for leave to appeal otherwise dismissed upon the ground that the remaining portion of the Appellate Division order does not finally determine either proceeding within the meaning of the Constitution.
